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                                  Exhibit 7
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 AFT MICHIGAN,
                                               Case No. 17-13292
       Plaintiff,                              Hon. Linda V. Parker
                                               Hon. Elizabeth A. Stafford
 v.

 PROJECT VERIT AS, et al,

       Defendants.


                        AFFIDAVIT OF JAMES O'KEEFE


       I, James O'Keefe , am over the age of eighteen years of age, am competent to

 testify, have personal knowledge of the matters to which I testify below, and hereby

 declare as follows:

       1. I submit this declaration in support of Project Veritas' s response to AFT

          Michigan's motion to compel discovery of the names of Project Veritas

           donors. ECF No. 134. I am familiar with AFT Michigan ' s claims, and I

          make these statements based on my personal knowledge . The facts set

           forth in this affidavit are true to my knowledge.

       2. Project Veritas donors do not dictate the specific subjects of our

           investigative journalism.
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       3. Project Veritas donors do not dictate the methods we use in can-ying out

          our investigations.

       4. No Project Veritas donor had any input into the investigation of AFT

          Michigan in 2017.

       5. Project Veritas focuses on uncovering corruption, fraud, waste, and abuse.

          It is common that its stories are provocative, and the subjects of the stories

          become upset or seek retaliation. Because of this, myself, Project Veritas,

          and some of its reporters have been subject to harassment and threats.

          Below are only some examples of such:

             a. After releasing an investigation in 2016 about the reality of the

                 American political process involving Democracy Partners, The

                 Undercurrent, an operation led by Lauren Windsor and sponsored

                 by American Family Voices, created a website entitled, "Project

                 Veritas             Exposed."              PROJECTVERITAS. EXPOSED


                 https://www.projectveritas.exposed (last visited May 11, 2020). The

                 website endeavors to be a systematic tool of harassment against

                 Project Veritas and its staff. It includes a "dossier" of suspected

                 names of people connected to Project Veritas , including detailed

                 individual pages listing otherwise private information such as their

                 states of residence, family information, and employment histories .



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                Lauren Windsor created this website in retribution after Project

                Veritas   Action    Fund     investigated   Democracy   Partners-an

                organization currently in litigation against Project Veritas Action

                Fund.

             b. After releasing our Democracy Pminers investigation, Allison

                Maass, a former Project V eritas undercover journalist, was harassed

                and stalked on the streets of Washington, DC by Lauren Windsor,

                Ryan Clayton, and others on January 5, 2017. Over-the-top anti-

                Trump protestors intimidate and harass young female journalist,

                YouTl.JBE,Jan. 31, 2017, https: //youtu.be/68i0bd2BIKk . Windsor

                and Clayton chased Maass for twenty minutes while verbally

                abusing her. Clayton even followed her into a taxi cab, uninvited,

                to continue accosting her.

             c. On March 7, 2020, the New York Times ran a front-page article about

                Project Veritas and our supposed donors and/or suppmiers. Mark

                Mazzetti & Adam Goldman, Erik Prin ce Recruits Ex-Spies to Help

                Infiltrate Liberal Groups, N .Y. TIMES, Mar . 7, 2020, available at

                https ://www .nytim es.com/2 020/03/07/us/politics /erik-prince-

                proj ect-veritas.html.     It included details about my upcoming

                wedding. Following this, an anonymous writer harassed my fiancee.



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                The letter is cryptically written and alleges my fiancee will "man-y

                all the karma of [my] evil soul" and she "will deserve it."

                Attachment 1.

             d. On January 29, 2017, Ryan Clayton snuck into and disrupted a

                private fundraising event hosted by the Friends of Abe. His purpose

                was to harass not only the Friends of Abe, but Project Veritas, and

                to question my character and the veracity of our operations. See

                Over-the-top anti-Trump protestors intimidate and harass young

               female journalist, supra.

             e. After Project Veritas investigated the Washington Post, on

                November 27, 2017 we discovered that an unknown individual

                vandalized our offices. This person left a graffiti message of "Fake

                News HQ" on the building . Attachment 2.

             f. Project Veritas has received several haras sing or threatening

                messages left on our voicemail.        One caller made sexually

                inappropriate suggestions that prisoners needed "fresh meat" and

                wanted to know when James O 'Keefe would join him. 0 'Keefe and

               Project Veritas Journalists Receive Threats in Hateful, Sexual

                Voicemails,        YouTuBE,           Aug.         29,        2016,

                https://www .youtube.com /watch?v =ulflCAytpzU&feature=youtu.



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                be . In another incident, another caller alleged we are "trying to

                 destroy our country" and warned that they "will show you-y ou

                guys are going out of business." Many others simply use profanity

                or attack the character of Project Veritas.

             g. Project Veritas has received a variety of harassing e-mail messages

                espousing profanity or short statements like "rot in hell."

             h. On social media accounts like Facebook, a number of users

                routinely harass Project Veritas and leave disturbing messages like

                "Trump Trash," "white trash terrorists," "fl'** a[ll] of you," and

                "cowardly fascists," and have threatened that Project Veritas will be

                "eradicated." See Attachment 3.

       6. Attempted public disclosure of the names of Project Veritas donor or

          suspected or purported donors has led to harassment. There are continued

          attempts to publicly embarrass our donors, and to use suspected donor

          information to obfuscate the results of our investigations .

             a. After a c~ntroversial     investigation    of the Washington Post,

                BuzzFeed News systematically contacted more than two dozen

                alleged Veritas donors to undermine their purported support of

                Project Veritas.    Kendall Taggart, Here are some of Project

                Veritas 's     Funders,       BU ZZFEED,      Nov.       29,   2017,



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                https://www .buzzfeednews .com/article/kendalltaggart/some-of-

                proj ect-veritass-donors-express- reservati ans-about.

             b. In 2017, the Chisholm Foundation withdrew support for Project

                Veritas due to calls by reporters about Veritas being de-registered

                for fundraising as a charity in Mississippi. Lachlan Markay , James

                0 'Keefe Donor Flees Over Failure to Disclose Criminal Record,

                DAILY             BEAST,             Dec.          11,         2017,

                https ://www.thedailybeast.com/j ames-okeefe-donor- flees-over-

                fail ure-to-disclose-criminal- record .

       7. If donors to Project Veritas are to be disclosed to subjects such as AFT

          Michigan, many donors will be less willing to associate , aid, and support

          us in the future. Over years of fundraising and soliciting donor support, a

          substantial number have premised their support based on Project Veritas's

          ability to protect their anonymity. Without this promise, many donors

          would not make contributions to Project Veritas. Forced disclosure of

          donor names will seriously damage Project Veritas's ability to fundraise,

          work with likeminded allies, and engage in news operations .

       8. I believe AFT Michigan, and possibly AFT National, will use the names

          of our donors to compile an enemies list or blacklist to harass Project




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            Veritas donors. See Exhibit 8 to Project Veritas's Response to AFT

            Michigan's Motion to Compel.

         9. I believe AFT Michigan, if it acquires any donor names in discovery, will

            negligently make the names public, as already occurred once on the public

            docket of this case for approximately 18 hours. See ECF No. 133.

 Pursuant to 28 U.S.C. § 1746, I, James O'Keefe, declare under penalty of perjury

 under the laws of the United States of America that the foregoing is true and correct.




 State of    W 'fOllt
            KJt
 County of    W{~
                '~fev
 This record was acknowledged before me on ~ \ (, .)ct,Jo (date)
 by ,Sf-n (1tH     6:ova14(name of individual).


 Signature of notarial officer \,~             'i/.~
                    STACY H GORAN
 Stamp      NOTARY PUBLIC-STATEOF NEW YORK
                     No. 01006354051
              QualifiedIn Wastchester County
             MyCommission Expires 02-06-2021

 Title of office   E~ J) e,~
 My commission expires         O"2-0Co- 2o2 l

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                  O'Keefe Affidavit - Attachment 1
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                  O'Keefe Affidavit - Attachment 2
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                  O'Keefe Affidavit - Attachment 3
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                  O'Keefe Affidavit - Attachment 3
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                  O'Keefe Affidavit - Attachment 3
